                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re LSC Liquidation, Inc., et. al.1                          Case No. 15-45784-MBM
                                                               Chapter 11
                  Debtor.                                      Hon. Marci B. McIvor
______________________________/

The Official Committee of Unsecured
Creditors of Lee Steel Corporation on behalf of
Debtor Lee Steel Corporation,

                       Plaintiff,
                                                               Adv. P. No. 16-04073-MBM
v.

Selman Transportation, Inc.,

                  Defendant,
______________________________/


     OPINION GRANTING DEFENDANT’S MOTION TO REOPEN ADVERSARY
             PROCEEDING AND SET ASIDE DEFAULT JUDGMENT

       This matter is before the Court on Defendant Selman Transportation, Inc.’s Motion to

Reopen Adversary Proceeding and Set Aside Default Judgment. Defendant seeks to set aside a

default judgment entered by the Court on March 14, 2016. For the reasons set forth in this

Opinion, the Motion is granted.

                                         Factual Background

       On January 4, 2016, Plaintiff, the Official Committee of Unsecured Creditors filed an

adversary complaint against Defendant Selman Transportation, Inc. The complaint seeks

recovery of an alleged preferential transfer.



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        This matter has been substantively consolidated with Taylor Industrial Properties, LLC., (Case
No. 15-45785) and 4L Ventures, LLC (Case No. 15-45788).



 16-04073-mbm         Doc 17        Filed 04/29/16   Entered 04/29/16 13:18:34          Page 1 of 9
         On January 18, 2016, Plaintiff filed a proof of service of the complaint on Defendant.

The certificate of service states that Defendant was served by first class mail. The summons and

complaint were served on Selman Transportation, Inc.’s registered agent, Gerald Selman, at

7170 E. McNichols, Detroit, Michigan.

         Defendant failed to file an answer to the complaint and on March 4, 2015, a clerk’s entry

of default was entered.

         On March 14, 2016, this Court entered a default judgment in the amount of $55,881.51

plus a $350 filing fee against Defendant.

         On March 30, 2016, Plaintiff served a writ of garnishment on Motor City Co-Op Credit

Union.

         On April 8, 2016, Defendant filed the present Motion to Reopen the Adversary

Proceeding and Set Aside the Default Judgment.

         On April 11, 2016, Motor City Co-Op filed a garnishee disclosure statement indicating

that it held funds belonging to defendant Selman Transportation in the amount of $56,484.94.

         On April 19, 2016, the Court held a hearing on the Motion to Reopen Adversary

Proceeding and Set Aside Default Judgment. At that hearing, Defendant conceded that service

was made at the proper address but asserted that it did not receive the Summons and Complaint.

         The matter was taken under advisement and the parties were afforded the opportunity to

submit supplemental briefs. On April 25, 2016, Defendant filed a supplemental brief,

accompanied by the affidavit of Gerald Selman, President of Defendant, Selman Transportation,

Inc.




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 16-04073-mbm         Doc 17     Filed 04/29/16       Entered 04/29/16 13:18:34     Page 2 of 9
                        Standard for Setting Aside a Default Judgment

       Federal Rule of Civil Procedure 55, made applicable to bankruptcy proceedings by Fed.

R. Bankr. P. 7055, governs defaults and provides that “[f]or good cause shown the court may set

aside an entry of default and, if a judgment by default has been entered, may likewise set it aside

in accordance with Rule 60(b).” Waifersong Ltd., Inc. v. Classic Music Vending, 976 F.2d 290,

292 (6th Cir. 1992)(“[A] a stricter standard applies for setting aside a default once it has ripened

into a judgment.”); INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc., 815 F.2d 391,

398 (6th Cir. 1987)(“A default can be set aside for ‘good cause shown’ but a default that has

become final as judgment can be set aside only under the stricter Rule 60(b) standards for setting

aside final appealable orders”).

       Rule 60(b) provides, in pertinent part:

        (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion
        and just terms, the court may relieve a party or its legal representative from a
        final judgment, order, or proceeding for the following reasons:

        (1) mistake, inadvertence, surprise, or excusable neglect;
        ...
        (6) any other reason that justifies relief.

Fed. R. Civ. Proc. 60(b)(1) and (b)(6). “Where Rule 60(b) is invoked to set aside a default

judgment, the court must both consider the Rule 55 equitable factors as enumerated in United

Coin Meter [Co.., Inc. v. Seaboard Coastline R.R.], 705 F.2d. [839] at 845 [(6th Cir. 1983)] and

find that one of the specific requirements of Rule 60(b) is met.” Thompson v. Amer. Home

Assur. Co., 95 F.3d 429, 433 (6th Cir. 1996).



        While “[t]he decision to set aside a default judgment is left to the discretion of the trial


                                                    3



 16-04073-mbm         Doc 17       Filed 04/29/16       Entered 04/29/16 13:18:34      Page 3 of 9
court..., the Sixth Circuit set forth three factors which are to be considered under Rule 55(b) and

Rule 60(b): (1) whether the plaintiff will be prejudiced; (2) whether the defendant has a

meritorious defense; and (3) whether culpable conduct of the defendant led to the default.”

Gourlay v. Sallie Mae, Inc. (In re Gourlay), 465 B.R. 124, 128 (B.A.P. 6th Cir. 2012)(citing

United Coin, 705 F.2d at 845). In applying these factors, the Sixth Circuit has explained that:

       When relief is sought under Rule 60(b)(1), the culpability factor is framed in
       terms of “mistake, inadvertence, surprise, or excusable neglect.” Furthermore,
       while it may be argued that the three factors are to be “balanced” by the court in
       determining whether to set aside an entry of default, balancing is demonstrably
       inappropriate when a court initially proceeds, as in the instant case, under Rule
       60(b)(1). That is because the rule mandates that a defendant cannot be relieved
       of a default judgment unless he can demonstrate that his default was the product
       of mistake, inadvertence, surprise, or excusable neglect. It is only when the
       defendant can carry this burden that he will be permitted to demonstrate that he
       can also satisfy the other two factors: the existence of a meritorious defense and
       the absence of substantial prejudice to the plaintiff should relief be granted.

Waifersong, 976 F.2d at 292. In applying these factors, courts must also bear in mind that trials

on merits are favored in federal court. United Coin Meter, 705 F.2d at 846 (6th Cir. 1983).

       Pursuant to these requirements, the Court must first address Defendant’s culpability

framed in terms of “mistake, inadvertence, surprise, or excusable neglect.” The Sixth Circuit

has explained that “[t]o be treated as culpable, the conduct of a defendant must display either an

intent to thwart judicial proceedings or a reckless disregard for the effect of its conduct on those

proceedings.” Bavely v. Powell (In re Baskett), 219 B.R. 754, 759 (BAP 6th Cir. 1998)(citation

omitted). In the present case, Defendant concedes that the Summons and Complaint may have

been mailed to the correct address. Defendant asserts however, that the Summons and

Complaint were never received, thus, Defendant did not know that a complaint had been filed.

       The Federal Rules of Bankruptcy Procedure authorize service of process via United


                                                 4



16-04073-mbm         Doc 17     Filed 04/29/16       Entered 04/29/16 13:18:34       Page 4 of 9
States Mail, first class, postage prepaid, “[u]pon a domestic or foreign corporation ... by mailing

a copy of the summons and complaint ... to any ... agent authorized by appointment ... to receive

service of process [,]” Fed. R. Bankr. P. 7004(b)(3), and “[s]ervice of process and service of any

paper other than process or of notice by mail is complete on mailing.” Fed. R. Bankr. P.

9006(e). “There is a presumption that an addressee receives a properly mailed item when the

sender presents proof that the item was properly addressed, stamped, and sent through the

United States mail.” Guinn v. Irwin Mtg. Corp. (In re Patterson), 330 B.R. 631, 637-38 (Bankr.

E.D. Tenn. 2005)(citation omitted). The presumption of receipt upon proper mailing is

rebuttable, although it takes something more than a single statement of non-receipt, standing

alone, to meet that burden. Id. at 638 citing Schilling v. O’Bryan (In re O’Bryan), 246 B.R.

271, 277 (Bankr. W.D. Ky. 1999)(“To allow a simple denial of receipt, standing alone, to rebut

the presumption would be to destroy the presumption entirely”). On the other hand, service by

mail to the correct address standing alone, may be insufficient to defeat a motion to set aside a

default judgment. If there is some plausible factual basis to support a Defendant’s assertion that

it did not receive the Summons and Complaint, the Court may find that Defendant lacked the

culpability required for a default judgment. See e.g. Bavely v. Powell (In re Baskett), 219 B.R.

754 (BAP 6th Cir. 1998); Rooks v. Amer. Brass Co., 263 F.2d 166 (6th Cir. 1959).




                                             Analysis

       In the present case, Defendant’s primary argument for setting aside the default judgment

is that it never received the complaint (Selman Aff. ¶ 14). Because it appears that service was


                                                 5



16-04073-mbm         Doc 17     Filed 04/29/16       Entered 04/29/16 13:18:34      Page 5 of 9
properly sent to Defendant’s registered agent, that assertion, standing alone, is insufficient to

overcome the presumption of receipt. However, in this case, that assertion is supported by other

evidence which indicates that: (1) there was an ongoing problem with mail delivery to

Defendant and that problem was not attributable to Defendant (Selman Aff. ¶¶ 5, 6, 15); (2)

Defendant had notice of the bankruptcy in which the complaint was filed and has been actively

involved in the bankruptcy (for example, Defendant has timely filed a claim in the bankruptcy);

(3) Defendant was actively watching the mail relating to Lee Steel Corporation’s bankruptcy

because Defendant was hoping for partial payment on its claim (Selman Aff. ¶ 8); and (4) the

serious consequences of a successful preference action gave Defendant every incentive to

answer Plaintiff’s complaint (Selman Aff. ¶ 17), particularly when Defendant has meritorious

defenses to the Complaint. (Selman Aff.¶ 18-23).

       This Court does not take lightly a defendant’s failure to answer a complaint. However,

on the record in this case, the Court can find no basis for concluding that Defendant’s failure to

timely file an answer to the complaint was the result of culpable conduct by Defendant.

Defendant has designated a resident agent and address for receiving service of process and has

received mail at that address. Defendant received notice of the filing of the bankruptcy and

timely filed a proof of claim. Defendant also states however, that mail is frequently delivered to

7171 E. McNichols (the building next door) rather than the correct address, 7170 E. McNichols.

Defendant also states that mail is sometimes delivered in an untimely fashion. (Selman Aff. ¶¶

4, 14, 15) The court finds Defendant’s statements to be plausible. Given that Defendant was

participating in the bankruptcy case, there is no reason to believe that, had Defendant actually

received the complaint, he would not have answered it. The record simply does not support the


                                                 6



16-04073-mbm         Doc 17     Filed 04/29/16       Entered 04/29/16 13:18:34       Page 6 of 9
proposition that Defendant either intended to thwart judicial proceedings or recklessly

disregarded the effect of its conduct on the proceedings. Thus, the conduct leading to the entry

of the default judgment was not culpable.

       The next step in determining whether the default judgment should be set aside is

assessing whether the plaintiff will be prejudiced. “For the setting aside of a default judgment to

be considered prejudicial, it must result in more than delay. Rather, the delay must result in

tangible harm, such as loss of evidence, increased difficulties of discovery, or greater

opportunity for fraud or collusion.” Thompson v. American Home Assurance Co., 95 F.3d 429,

433-434 (6th Cir. 1996)(quoting INVST Fin. Group, 825 F.3d at 398. “[T]he relevant inquiry

concerns the future prejudice that will result from reopening the judgment, not prejudice that

has already resulted from the defendant's conduct.” Dassault Systemes, SA v. Childress, 663

F.3d 832, 842 (6th Cir. 2011)(citation omitted).         In the present case, apart from delay, it

does not appear to the Court that there will be any prejudice to Plaintiff. There appears to be

no risk of losing evidence, complicating discovery, or fraud and collusion. The only obvious

prejudice is to Defendant. Defendant is a small business and the loss of $56,484.94 will have a

significant adverse impact on Defendant’s business. This is particularly true when Defendant

has already lost money as a result of Lee Steel’s bankruptcy filing, as it is extremely unlikely

that Defendant’s claim will be paid in full, if at all. As Defendant’s president stated in his

affidavit, “[w]ithout access to the funds subject to garnishment, Selman Transportation will be

forced to terminate substantially all of its employees, and it is unlikely it will be able to

continue to operate its business in any fashion.” (Selman Aff ¶ 25). On these facts, the Court

concludes that Defendant will be seriously prejudiced if the default judgement is not set aside.


                                                   7



16-04073-mbm         Doc 17      Filed 04/29/16        Entered 04/29/16 13:18:34        Page 7 of 9
       The final step in determining whether the default judgment should be set aside is

whether Defendant has a meritorious defense. “[I]n order to establish a ‘meritorious defense,’

the defendant must state ‘a defense good at law’ which is sufficient if it contains ‘even a hint of

a suggestion which, proven at trial, would constitute a complete defense.” Thompson , 95 F.3d

at 434, quoting INVST Fin. Group, 815 F.2d at 398-99.

       In the present case, Defendant asserts that it has an ordinary course of business defense

to the preference action. 11 U.S.C. § 547(c). That defense is designed to “protect recurring,

customary credit transactions which are incurred and paid in the ordinary course of business of

the Debtor and the transferee.” Waldschmidt v. Ranier (In re Fulghum Constr. Corp), 872 F.2d

739, 743 (6th Cir. 1989)(citation omitted). Defendant contends that its regular business

practice with the Debtor is to submit weekly invoices and receive weekly remittances. This is

standard in the industry and such payments fall within 11 U.S.C. § 547(c)(2). (Selman Aff. ¶¶

19-23). In light of these assertions, the Court finds that Defendant has, for purposes of setting

aside the default judgment, raised a meritorious defense.

                                           Conclusion

       For the foregoing reasons, Defendant’s Motion to Reopen Adversary Proceeding and Set

Aside Default Judgment is granted. Defendant shall file an Answer to the Complaint on or

before May 20, 2016.
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Signed on April 29, 2016




                                                 8



16-04073-mbm         Doc 17     Filed 04/29/16       Entered 04/29/16 13:18:34      Page 8 of 9
                                         9



16-04073-mbm   Doc 17   Filed 04/29/16       Entered 04/29/16 13:18:34   Page 9 of 9
